                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION


 FAYETTEVILLE PUBLIC LIBRARY, a political
 subdivision in the City of Fayetteville, State of
 Arkansas, et al.

                                                                               PLAINTIFFS


 v.                                  NO. 5:23-CV-05086-TLB

 CRAWFORD COUNTY, ARKANSAS, et. al


                                                                               DEFENDANTS


       PLAINTIFF WORDSWORTH COMMUNITY BOOKSTORE LLC D/B/A
 WORDSWORTH BOOKS’ RESPONSES TO INTERROGATORIES AND REQUESTS
   FOR PRODUCTION OF DOCUMENTS PROPOUNDED BY PROSECUTING
                    ATTORNEY DEFENDANTS


        Pursuant to Federal Rules of Civil Procedure 26 and 33 and the Local Rules of the United

States District Court for the Western District of Arkansas, Plaintiff Wordsworth Bookstore LLC

d/b/a Wordsworth Books (“Wordsworth”) by and through its undersigned counsel, hereby objects

and responds to Plaintiff’s First Set of Interrogatories and Requests for Production to Wordsworth

as follows:

                                   GENERAL STATEMENT

        These responses are made solely for the purpose of this action, and are made without

waiving: (a) the right to object, on the grounds of competency, proprietary, admissibility, privilege,

relevance and/or materiality, or any other proper grounds, to the use of these responses for any




US_ACTIVE\126439961\V-2
        15.     Wordsworth’s Specific Objections and Responses to the Requests are made subject

to and without waiving, the foregoing General Objections, which are incorporated by reference

into each of the below Responses.

      SPECIFIC OBJECTIONS AND RESPONSES TO INTERROGATORIES AND
                      REQUESTS FOR PRODUCTION



INTERROGATORY NO. 1: Identify 20 items in your collection that you believe are subject to

regulation under Section 1 of Act 372 of 2023.

RESPONSE: Wordsworth objects to Interrogatory No. 1 as confusing, vague, and unduly

burdensome because it requires Wordsworth to draw legal conclusions about the extent to which

materials it sells are subject to regulation under Section 1 of Act 372, a law that Wordsworth

alleges is unconstitutionally vague. Wordsworth also objects that its ability to identify books its

sells that the Prosecutor Defendants may consider to be subject to Act 372 would be greatly

enhanced if it had the benefit of the Prosecutor Defendants’ response to Plaintiffs’ first set of

discovery requests, which should clarify, among other things, the Prosecutor Defendants’ views

on the applicability of Act 372 to a list of frequently challenged books. Understanding how the

Prosecutor Defendants, who are tasked with interpreting and enforcing Act 372, understand that

law will help Wordsworth more accurately determine which books it sells are likely to trigger a

prosecution under Section 1 of Act 372, if they are made generally available to library patrons,

regardless of age.

Without waiving these objections, Wordsworth provides the following list of books, which meet

the definition of “materials” under Act 327 and are in or have recently been in Wordsworth’s

collection. In providing this list of books to which Act 372 Section may apply, Wordsworth

chose books which may be deemed by the prosecutors to be harmful to minors 8 years old, as


                                                  6
US_ACTIVE\126439961\V-2
required under Shipley, Inc. v. Long, 359 Ark. 208, 195 S.W.3d 911 (Ark. 2004), although they

are, in Wordsworth’s view, at least constitutionally protected as to older minors and adults.

               A Court of Mist and Fury by Maas, Sarah J.

               Adjustment Day by Palahiuk, Chuck

               All Boys Aren’t Blue by Johnson, George M.

               Adjustment Day by Palahniuk, Chuck

               Beloved by Morrison, Toni

               Bridgerton by Quinn, Julia

               Call Me By Your Name by Aciman, Andre

               Everything You Always Wanted to Know About Puberty by Katz, Morris

               Forever by Blume, Judy

               Looking for Alaska by Green, John

               Sanctuary by Faulkner, William

               Speak: The Graphic Novel by Anderson, Laurie Halse

               The Absolutely True Diary of a Part-Time Indian by Alexie, Sherman

               The Bluest Eye, by Morrison, Toni

               The Catcher in the Rye by Salinger, J. D.

               The Color Purple by Walker, Alice

               The Handmaid's Tale by Atwood, Margaret

               The Perks of Being a Wallflower by Chbosky, Stephen

               To Kill a Mockingbird, by Lee, Harper

               Ulysses by Joyce, James




                                                 7
US_ACTIVE\126439961\V-2
INTERROGATORY NO. 2: For each item identified in response to Interrogatory No. 1,

identify the chapter numbers, timestamps, or other specific indicator that you believe make the

item subject to Section 1.

RESPONSE: Wordsworth objects to Interrogatory No. 1 to the extent it seeks disclosure of

information protected by the attorney-client privilege, attorney work product doctrine, common

interest privilege, and other applicable privileges. Wordsworth further objects to Interrogatory

No. 4 as confusingly worded, vague, and unduly burdensome because it requires Wordsworth to

draw legal conclusions about the extent to which items it sells that are subject to regulation under

Section 1 of Act 372, a law that Wordsworth alleges is unconstitutionally vague. Moreover,

determining if an item is “harmful to minors” – and, thus, is subject to Act 372’s restrictions on

its availability – requires that the item be “taken as a whole,” Ark. Code Ann. 5-68-501(2);

Miller v. California, 413 U.S. 15, 24 (1973), and considered in the context of the age and

maturity of the specific minor to whom the material is made available, see Ginsberg v. New

York, 390 U.S. 629, 631-32 (1968). Prelim. Inj. Op. (Doc. 53) at 27 (“Act 372’s definition of

‘harmful to minors’ precisely tracks the Supreme Court-approved definitions from Ginsberg and

Miller”).

Thus, it is not possible to identify which portions of the books Wordsworth has identified in its

answer to Interrogatory No. 2 might cause one of the Prosecutor Defendants to initiate a

prosecution.

Accordingly, without waiving any objections and for the reasons stated above, Wordsworth

declines to identify specific chapter numbers, timestamps, or other specific indicators that would

make the books identified above subject to Section 1 of Act 372.



                                                 8
US_ACTIVE\126439961\V-2
                                                  Respectfully submitted


                                                  /s/ Michael A. Bamberger

                                                  Michael A. Bamberger*
                                                  Kristen Rodriguez*
                                                  Rebecca Hughes Parker*
                                                  DENTONS US LLP
                                                  1221 Avenue of the Americas
                                                  New York, NY 10020
                                                  Telephone: (212) 768-6700
                                                  E-Mail: michael.bamberger@dentons.com
                                                  E-Mail: kristen.rodriguez@dentons.com
                                                  E-Mail: rebeccahughes.parker@dentons.com

                                                  * Admitted pro hac vice

                                                  Attorneys for Pearl’s Books, LLC,
                                                  Wordsworth Community Bookstore LLC,
                                                  American Booksellers Association,
                                                  Association of American Publishers, Inc.,
                                                  Authors Guild, Inc. Comic Book Legal
                                                  Defense Fund, and Freedom to Read
                                                  Foundation



                               CERTIFICATE OF SERVICE

       I, Rebecca Hughes Parker, certify that a copy of the foregoing pleading has been served
via email on the counsel of record in this case on March 18, 2024.




                                           /s/ Rebecca Hughes Parker
                                           Rebecca Hughes Parker




                                             11
US_ACTIVE\126439961\V-2
